                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                                )
                                                      )        CHAPTER:            13
JETHRO AND JENNIFER THURSTON                          )        CASE NO.:           20-00625
5187 MURFREESBORO ROAD                                )        JUDGE:              MASHBURN
LEBANON, TN 37090                                     )
SSN: XXX-XX-0803/8042                                 )
  Debtors.                                            )
                                                      )
                                                      )

 ORDER DENYING TRUSTEE’S MOTION TO DISMISS FOR FAILURE TO CONFIRM PLAN

         THIS CAUSE CAME TO BE HEARD on the 13th day of May, 2020, upon the Trustee’s Motion

to Dismiss for Failure to Confirm Plan. It appearing to the Court that the Debtors’ plan is now confirmed,

therefore the Court finds that the motion is not well taken and shall be DENIED.

         IT IS THERFORE ORDERED, ADJUDGED, AND DECREED that the Trustee’s Motion to

Dismiss for Failure to Confirm Plan is hereby DENIED.

         IT IS SO ORDERED.

                                                     THIS  ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                                                     INDICATED AT THE TOP OF THE FIRST PAGE.




APPROVED FOR ENTRY:

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